Case 1:09-cv-22698-CMA Document 1 Entered on FLSD Docket 09/10/2009 Page 1 of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO.

   

  
 

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CHRISTOPHER J. VINUEZA, individually,

Plaintiff, ue 9 _ 2 % G 9 8
ZAKHEIM & ASSOCIATES, P.A., CN: M1 QONAGA

a Florida corporation,

Vv.

 

Defendant. MAGISTRATE JUDGE
/ BROWN
COMPLAINT
JURY DEMAND

1. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 et seg. (““FDCPA”).
JURISDICTION AND VENUE

2. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337 and 15
U.S.C. § 1692k. Venue in this District is proper because Plaintiff resides here and
Defendant does business in this District.

PARTIES

3. Plaintiff, CHRISTOPHER J. VINUEZA, is a natural person, and
citizen of the State of Florida, residing in Miami-Dade County, Florida.

4. Defendant, ZAKHEIM & ASSOCIATES, P.A., is a Florida

corporation, and law practice engaged in the business of collecting upon debts in
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Florida with its principal place of business at 1045 South University Drive, Suite
202, Plantation, Florida 33324.

5. At all times material to the allegations of this complaint, Defendant
was acting as a “debt collector”, as that term is defined in the FDCPA, with respect
to the collection of Plaintiff’s alleged debt.

FACTUAL ALLEGATIONS

6. Defendant sought to collect an alleged debt from Plaintiff arising from
a credit card used by Plaintiff primarily for personal, family or household
purposes.

7. On June 8, 2009, Defendant filed a lawsuit in Broward County,
Florida against Plaintiff seeking to collect upon an alleged Citibank credit card
debt of $4,092.27 dollars.

8. Plaintiff does neither reside in Broward County, Florida nor did he
execute a contract for a Citibank credit card in Broward County, Florida.

9. Defendant served Plaintiff with process in Miami-Dade County on or
about

10. Plaintiff maintains that the last payment was made on said credit card
account In May 2003, more than six years before said lawsuit was filed.

11. The state court lawsuit does not attach a “written instrument” as

defined by Florida law.
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12. A true and correct copy of the state court lawsuit is attached hereto as
“Exhibit A”.

13. The statute of limitations in Florida for actions not founded upon a
written instrument is four (4) years. Florida Statutes § 95.11(3)(k).

14. The statute of limitations in Florida for actions founded upon a written
instrument is five (5) years. Florida Statutes § 95.11(2)(b).

15. Defendant knew the complaint was filed beyond both Florida’s four
(4) year statute of limitations of limitations and Florida’s five (5) year statute of
limitations.

16. Knowingly filing a time-barred suit is a violation of the FDCPA.
Kimber v. Federal Financial Corp., 668 F. Supp. 1480 (M.D. Ala. 1987). “Because
few unsophisticated consumers would be aware that a statute of limitations could
be used to defend against lawsuits based on stale debts, such consumers would
unwittingly acquiesce to such lawsuits.” /d. at 1487.

17. Because of the small amount of the alleged debt, Defendant knew
Plaintiff would likely acquiesce as he would not be aware of the statute of
limitations as a defense and the cost of attorney’s fees to learn of his defenses and
assert them would exceed the amount sought.

18. In the state court suit, Defendant’s actions necessitated Plaintiff to

incur attorney fees.
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COUNT I
FILING A TIME-BARRED LAWSUIT

19. Plaintiff incorporates Paragraphs 1 through 18.

20. Defendant violated the Fair Debt Collection Practices Act by using a
deceptive means in violation of 15 U.S.C § 1692e, by engaging in conduct the
natural consequence of which is to harass, oppress or abuse in violation of 15
U.S.C § 1692d, and by engaging in an unfair and deceptive practice in violation of
15 U.S.C § 1692f by filing a suit against Plaintiff which Defendant knew was time-
barred and also by continuing to litigate the matter even after becoming aware that
the state court lawsuit was in fact time-barred.

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
Plaintiff and against Defendant for:

a. Damages, including attorney’s fees incurred during the defense

of the state court suit;

b. Attorney’s fees, litigation expenses and costs of the instant suit;
and
C. Such other or further relief as the Court deems proper.
COUNT I

LITIGATION IN AN IMPERMISSIBLE COUNTY

21. Plaintiff incorporates Paragraphs | through 18.
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22. Defendant violated the Fair Debt Collection Practices Act by filing a
legal action in a county in which Plaintiff did neither reside nor sign an agreement
upon which the alleged debt was based. Defendant violated 15 U.S.C. § 1692i, 15
U.S.C. § 1692d, 15 U.S.C. § 1692e, and 15 U.S.C. § 1692f.

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

Plaintiff and against Defendant for:

a. Damages;

b. Attorney’s fees, litigation expenses and costs of the instant suit;
and

c. Such other or further relief as the Court deems proper.

JURY DEMAND
Plaintiff demands trial by jury.

Dated this ® day of September, 2009.

SCOTT D. OWENS, ESQ.
Attorney for Plaintiff

Cohen & Owens, P.A.

3801 Hollywood Blvd., Suite 200
Hollywood, FL 33021

scott(a@fohenowehs.com

 

 

 

By:

 

Scott D.Owers, Esq.
Florida BarjNo. 0597651
Case 1:09-cv-22698-CMA Document 1 Entered on FLSD Docket 09/10/2009 Page 6 of 8
Jul.02.2008 05:00 PM 3055517" ° PAGE. 2/ 3

IN THE COUNTY COURT FOR THE 17TH
JUDICTAT. CIRCUIT TIN AND FOR BROWARD
COUNTY, FLORIDA

CASE NUMBER:
CIIBANK (SOUTH DAKOTA), NLA.
701 EAST 60TH STREET NORTH
SIOUX FALLS SID57117 |
Plainuff,
va.

CHRISTOPHER J VINUEZA

241 NE38TH ST APT B113

OAKLAND PARK FE 33334-1206
Defendant.

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COMPLAINP EVEN ta, SHA
The Plaintiff sues the Defendant and alleges:

COUNT T-OPEN ACCOUNT
1. This is an action for damages which do not exceed $5,000.00,
2, The Defendant made purchases of various and diverse consumer goods and/or effected cash advances through the
use of his credit account obtained from the Plaintiff on account number 541931009 1253622.
3. Defendant has failed to pay the balance due on the account.
4. Defendant(s) owe(s) the Plaintiff $4092,27 that is due with interest according to the attached account (Exhibit A).
WHEREFORE, Plaintiff demands judgment against the Defendant(s) for damages of $4092.27 and any further relief

this court deems just and proper.

COUNT HL-ACCOUNT STATED

5. Plaintiff repeats and realleges the allegations of paragraph | and 2 as if fully set forth herein.

6. Before the institution of this action Plaintiff and Defendant had business transactions between them and they
agreed to the resulting balance.

7, Plaintiff rendered a statement of account to Defendant and Defendant did not object to the statement.

8. Defendant(s) owe(s) the Plaintiff $4092.27 that is due with interest according to the attached account (Exhibit A).

WHEREFORE, Plaintiff demands judgment against the Defendant(s) for damages of $4092.27 and any further relief
this court deems just and proper.

ZARKIILIM & ASSOCIATES, PLA,
ATTORNEY FOR PLAINTIFF

1045 8S. UNIVERSITY DR.. STE, # 202
PLANTATION, FL 33324
954/735-4455

es cCM BQO FP FAM MG

Se CS xt
by <= =>

Richard Battaglino, Esquire - Fla Bar No. $8793 1
Sasha Haro, Esquire Fla Bar No. 843121
Shine Michel, Esquire - Fla Bar No. 31387

 

39910
THIS TS AN APTEMPTE TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL BE USED EC dK
THAT PURPOSE. ‘THIS COMMUNICATION IS FROM A DEBT COLLECTOR.

EXHIBIT A >
Geis 1S o
Case 1:09-cv-22698-CMA Document 1 Entered on FLSD Docket 09/10/2009 Page 7 of 8

IN THE COUNTY COURT IN AND

 

 

FOR COUNTY, FLORIDA
CASE NUMBER:
CITIBANK (SOUTH DAKOTA), N.A.
Plaintiff,
vs.
CHRISTOPHER J VINUEZA
Defendant(s).
/
PROOF OF CLAIM AFFIDAVIT
STATE OF MISSOURI)
)
COUNTY OF PLATTE)
Shauna Houghton . ..
LY, , am an authorized agent for Citibank (South Dakota), N.A.

 

2. [have reviewed Defendant's account and have personal knowledge of the facts stated below.

>. This action is an action to recover an outstanding balance due from Defendant on credit toard. account

number 54193 10091253622.

4, The Defendant went into default on the credit card account as a result of Defendant’s failure to
maintain payments toward the outstanding balance.

5, There is now due and owing from Defendant to Plaintiff the principal sum of $4,092.27.

Niu Aang

 

The foregoing instrument was acknowledged and signed before me this 18 8 day of
CP TEMBAL _, 2008 by Shauna Houghton who is personally known to me or who did
’ produce as identification and who did take an oath.

/yhes? Jllo Craufl Callean MeConnel

Notary Public - Notary Seal

Notary Public State of Missouri, Platte County
Commission# 04617654
. _ J / ~O ES My Commission Expires October 11, 2008
My Commission Expires: Z O

THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE. THIS COMMUNICATION IS FROM A DEBT COLLECTOR.
File Number: 3000274885 .001
Case 1:09-cv-22698-CMA Document 1 Entered on FLSD Docket 09/10/2009 Page 8 of 8

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The JS 44 civil cover a fe informal ged n igpitfrer
by local rules of court. This form, approved by the Judicial Conference o

the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

COVER SHEET

nor supplement the filing and service of pleadings or other papers as required by law, except as provided
e United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
NOTICE: Attorneys MUST Indicate All Re-file

 

I. (a) PLAINTIFFS
CHRISTOPHER J. VINUEZA, individually

(b) County of Residence of First Listed Plaintiff Miami-Dade County

(EXCEPT IN U.S. PLAINTIFF CASES)
(¢) Attormney’s (Firm Name, Address, and Telephone Number)
Scott D. Owens, Esq./COHEN & OWENS, P.A.

3801 Hollywood Boulevard, Suite 200, Hollywood, FL 33021
Phone: 954-923-3801

(a) Check County Where Action Arose: ¥J MIAMI- DADE

II. BASIS OF JURISDICTION

(Place an “X” in One Box Only)

4 1 U.S, Government 3 3. Federal Question

Plaintiff (U.S. Government Nota Party)
32. «US. Government O 4 Diversity

Defendant

(Indicate Citizenship of Parties in Item IIT)

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

Ill. CITIZENSHIP OF P

DEFENDANTS

 
 
  
     
  
   

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF C

NOTE: IN LAND CONDEMNATION CASEY, US

LAND INVOLVED.

   

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FILED by 2% _ pc.

ZAKHEIM & ASSOCIATES, P.A., a Florida corporation

Broek, G,2009

D. of FLA. — MIAN

th GOMIST HE FRAC

 

 

Attorneys (If Known)

CIV-ALTONAGA

 

BROWN

Citizen of This State ao: al

  

Principal Place ag 4

O MONROE O BROWARD OF PALMBEACH 3 MARTIN © ST.LUCIE © INDIAN RIVER J OKEECHOBEE

HIGHLANDS

NCIPAL PARTIES Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) GIS I R A TE JUDGE Box for Defendant)
PTF DEF

PTF DEF

a4

of Business In This State

Citizen of Another State 4 2 a 2

Incorporated and Principal Place 3 5 a5

of Business In Another State

Citizen or Subject of a a 3 3 3
Foreign Country

Foreign Nation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES J
J 110 Insurance PERSONAL INJURY PERSONAL INJURY [3 610 Agriculture O 422 Appeal 28 USC 158 400 State Reapportionment
J 120 Marine 7 310 Airplane J 362 Personal Injury - J 620 Other Food & Drug GO 423 Withdrawal 1 440 Antitrust
4 130 Miller Act 7 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure 28 USC 157 3 430 Banks and Banking
J 140 Negotiable Instrument Liability 365 Personal Injury - of Property 21 USC 881 J 450 Commerce
17 150 Recovery of Overpayment }|O 320 Assault, Libel & Product Liability J 630 Liquor Laws PROPERTY RIGHTS > 460 Deportation
& Enforcement of Judgment Slander 368 Asbestos Personal | 640 R.R. & Truck 1 820 Copyrights 7 470 Racketeer Influenced and
151 Medicare Act G 330 Federal Employers’ Injury Product O 650 Airline Regs. O 830 Patent Corrupt Organizations
J 152 Recovery of Defaulted Liability Liability 660 Occupational J 840 Trademark A 480 Consumer Credit
Student Loans J 340 Marine PERSONAL PROPERTY Safety/Health G 490 Cable‘Sat TV
(Excl. Veterans) 71 345 Marine Product FJ 3709 Other Fraud GO 690 Other 3 810 Selective Service
1 153 Recovery of Overpayment Liability 3371 Truth in Lending LABOR SOCIAL SECURITY J 850 Securities/Commodities/
of Veteran’s Benefits J 350 Motor Vehicle QO 380 Other Personal O 710 Fair Labor Standards TJ 861 HIA (1395ff) Exchange
“1 160 Stockholders’ Suits 355 Motor Vehicle Property Damage Act TJ 862 Black Lung (923) TF 875 Customer Challenge
J 190 Other Contract Product Liability J 385 Property Damage GO 720 Labor/Mgmt. Relations 863 DIWC/DIWW (405(g)) 12 USC 3410
J 195 Contract Product Liability 3 360 Other Personal Product Liability % 730 Labor/Mgmt.Reporting 7 864 SSID Title XVI @ 890 Other Statutory Actions
4 196 Franchise Injury & Disclosure Act CO 865 RSI (405(g)) O 891 Agricultural Acts
L REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS [0 740 Railway Labor Act FEDERAL TAX SUITS J 892 Economic Stabilization Act
J 210 Land Condemnation 441 Voting J 510 Motions to Vacate {( 790 Other Labor Litigation J 870 Taxes (U.S. Plaintiff 3 893 Environmental Matters
J 220 Foreclosure 3 442 Employment Sentence 3 791 Empl. Ret. Inc. Securit or Defendant) J 894 Energy Allocation Act
Eject Housing/ L : Act 871 IRS -- Third Part gq .
3 20 Rent Lene & Hjestment ]443 Housing| | aban cayme IRS Th Party 698 Freedom of nfnmation A
J 245 Tort Product Liability 3 444 Welfare 3 (535 Death Penalty ff UIMMIGRATION. J J (900 Appeal of Fee Determination
J 290 All Other Real Property a Be a caaen Dsabaites ‘540 Mandamus & Other] J Avphestion Under Equal Access to Justice
4 One w/Disabilities + 3 550 Civil Rights aq Dat teas Corpus-Alien
21 440 Other Civil Rights (555 Prison Condition] 463,Other Immigration 3 950. onstitutionality of State
Vv. ORIGIN (Place an “X” in One Box Only) Transferred from ‘Appeal to District
fj | Original 1} 2 Removed from OM 3. Re-filed- 4 Reinstatedor 5 another district 6 Multidistrict o7 Macistrate
Proceeding State Court (see VI below) Reopened (specify) Litigation

Judgment

 

VI. RELATED/RE-FILED

(See instructions

 

a) Re-filed Case YES JINO

b) Related Cases O YES YNO

DOCKET NUMBER

 

CASE(S). second page): JUDGE
diversity):
VIl. CAUSE OF ACTION FDCPA Violation

LENGTH OF TRIAL vial

 

days-estiqated (for both sides to try entire case)

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless

 

CHECK IF THIS IS A CLA
UNDER F.R.C.P. 23

VIII. REQUESTED IN
COMPLAINT:

ABOVE INFORMATION IS TRUE & CORRECT TO
THE BEST OF MY KNOWLEDGE

oN DEMAND $

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NM
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JURY DEMAND:

FOR OFFICE USW ONBY>

CHECK YES only if demanded in complaint:

f No

Zi Yes

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